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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
POPSOCKETS LLC,
Case No. 19-cv-00912
Plaintiff, .
Judge Virginia M. Kendall
Vv.

Magistrate Judge Sidney I. Schenkier
6109656, et al.,

Defendants.

 

 

SATISFACTION OF JUDGMENT
WHEREAS, a judgment was entered in the above action on April 18, 2019 [53], in favor
of Plaintiff PopSockets LLC (““PopSockets” or “Plaintiff’), and against the Defendants Identified
in Schedule A in the amount of one hundred fifty thousand dollars ($150,000) per Defaulting
Defendant, and Plaintiff acknowledges payment of an agreed upon damages amount, costs, and

interest and desires to release this judgment and hereby fully and completely satisfy the same as

to the following Defendants:

Defendant Name Line No.
7082906 2
365-da 4
4hk2513 5

999 shopping mall 7
bab i 12
shoppi 13

bi nline 15

fans-tech 31
o vovotrade 37
hk.6729 46
richonee 68
strong2018 75
threeriv 79
amusi

 
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THEREFORE, full and complete satisfaction of said judgment as to the above-referenced
Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.

Dated this 20th day of May 2019. Respectfully sub

  

Amy C. Ziegler

Justin R. Gaudio

Allyson M. Martin

Greer, Burns & Crain, Ltd.

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Counsel for Plaintiff PopSockets LLC
Subscribed and sworn to me by Allyson M. Martin, on this 20th day of May 2019.

Ub

Notary Public

Given under by hand and notarial seal.

 
 

CAITLIN SCHLIE
Official Seal
Notary Public ~ State of Illinois
My Commission Expires Nov 20, 2021

      
 

State of Illinois
County of Cook

 
